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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of New York

E-DISTRIBUTORS INC. d/b/a AUDIOSAVINGS,

Plaintiff(s)
¥.
ROBERT WOITKOWSKI a/k/a ROBERT BLATT;

Civil Action No, 25-cv-02337-JMA-ST

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Defendant(s)

SUMMONS IN A CIVIL ACTION

ROBERT WOITKOWSKI a/k/a ROBERT BLATT
510 Kings RDG,
Liberty, Missouri 64068

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

. Rachel Wrubel, Esq.
h d add : ,
whose name and address are 377 Pearsall Ave, Suite C

Cedarhurst, NY 11516

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

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Signature of Clerk or Deputy Clerk

